Case 1:17-cv-00208-SEB-TAB Document 26 Filed 02/15/18 Page 1 of 2 PageID #: 89



                       IN THE UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS, INDIANA

PATRICK GARRETT,                      )
                                      )
               Plaintiff,             )
                                      )
               v.                     ) CIVIL ACTION NO.: 1:17-cv-208-SEB-TAB
                                      )
CARRINGTON MORTGAGE                   )
SERVICES,                             )
                                      )
               Defendant.             )

                            PLAINTIFF’S STATEMENT OF CLAIMS

       Plaintiff Patrick Garrett, by counsel, pursuant to court order of the Court’s case management

plan submits the following statement of claims for which it carries the burden of proof.

       1. Plaintiff intends to prove that he was discriminated against due to his race in violation

of 42 U.S.C. § 1981 and Title VII 42 U.S.C. § 2000 et al.

       2. Plaintiff intends to prove he was discriminated against due to his gender all in violation

of Title VII 42 U.S.C. § 2000e.

       3. Plaintiff intends to prove that he was retaliated against for engaging in protected activity

in violation of 42 U.S.C. § 1981 and Title VII 42 U.S.C. § 2000 et al.

       4.    Plaintiff also intends to prove he is entitled to lost wages, compensatory damages,

punitive damages and attorney fees as a result of Defendant’s violations.



                                                      Respectfully submitted,



                                                       s/Gregory A. Stowers
                                                      Gregory A. Stowers
Case 1:17-cv-00208-SEB-TAB Document 26 Filed 02/15/18 Page 2 of 2 PageID #: 90




                                CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing has been forwarded to Jackie S. Gessner,

BARNES & THORNBURG LLP, 11 S. Meridian Street, Indianapolis, IN           46204 via electronic

filing, this   15th    day of February, 2018.




                                                    s/Gregory A. Stowers
                                                   Gregory A. Stowers, #13784-49
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